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05                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
06                                     AT SEATTLE

07 UNITED STATES OF AMERICA,              )
                                          )
08         Plaintiff,                     )
                                          )            Case No. 05-479M
09         v.                             )
                                          )            DETENTION ORDER
10   RANDALL CANUPP,                      )
                                          )
11         Defendant.                     )
     ____________________________________ )
12

13 Offense charged:

14          Count 1. Conspiracy to distribute cocaine in violation of 21 U.S.C. §§ 841(a)(1), and

15 841(b)(1)(A), and 846.

16          Count 2: Conspiracy to distribute ecstacy in violation of 21 U.S.C. §§ 841(a)(1) and

17 841(b)(1)(C).

18 Date of Detention Hearing: October 12, 2005.

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

21 the following:

22         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

24 is a flight risk and a danger to the community based on the nature of the pending charges.

25 Defendant has not overcome these presumptions.

26          (2)     Defendant’s instant offenses charged involve a large amount of drugs.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01         (3)    Defendant has a former felony-drug offense which could result in a twenty-year

02 mandatory minimum sentence.

03         (4)    Defendant has a substantial prior criminal history.

04         (5)    Defendant has a past history of substance abuse. It is unknown whether his

05 substance abuse continues at present.

06         IT IS THEREFORE ORDERED:

07         (1)    Defendant shall be detained pending trial and committed to the custody of the

08                Attorney General for confinement in a correction facility separate, to the extent

09                practicable, from persons awaiting or serving sentences or being held in custody

10                pending appeal;

11         (2)    Defendant shall be afforded reasonable opportunity for private consultation with

12                counsel;

13         (3)    On order of a court of the United States or on request of an attorney for the

14                government, the person in charge of the corrections facility in which defendant

15                is confined shall deliver the defendant to a United States Marshal for the purpose

16                of an appearance in connection with a court proceeding; and

17         (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

18                counsel for the defendant, to the United States Marshal, and to the United States

19                Pretrial Services Officer.



                                                         A
20                DATED this 14th day of October, 2005.

21
                                                         JAMES P. DONOHUE
22                                                       United States Magistrate Judge
23

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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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